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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

In Re:                                                         Case No. 6:18-bk-06821-KSJ

DON KARL JURAVIN,                                              Chapter 11

      Debtor.
___________________________/

  CREDITOR, BELLA COLLINA PROPERTY OWNER’S ASSOCIATION, INC.’S,
    RESPONSE IN OPPOSITION TO DEBTOR’S EMERGENCY MOTION FOR
 PROTECTIVE ORDEER AS TO NOTICE OF INTENT TO SERVE SUBPOENAS BY
        BELLA COLLINA PROPERTY OWNER’S ASSOCIATION, INC.

         Creditor, Bella Collina Property Owner’s Association, Inc. ("Creditor” or “BCPOA"),

through the undersigned counsel, responds in opposition to the Debtor’s, Don Karl Juravin (the

“Debtor”), Emergency Motion for Protective Order as to Notices of Intent to Serve Subpoenas

by Bella Collina Property Owner’s Association, Inc. (“Emergency Motion for Protective

Order”), and in support states as follows:

                                        INTRODUCTION

         BCPOA is entitled to seek discovery from third parties related to Juravin’s Chapter 7 case

and Discharge Order to determine whether the discharge was obtained fraudulently under 11

U.S.C. § 727(d)(1)-(2), (e). Put differently, there does not have to be an adversary proceeding or

contested matter pending before this Court for BCPOA or other creditors to seek discovery from

third parties relating to the pending bankruptcy case. Furthermore, BCPOA is entitled to seek

discovery in relation to its Cross Noticed 2004 Exam of Anna Juravin. [Doc. 219]. There is no

rule or case, and the Debtor cites none, that prohibits this type of limited discovery from

occurring.
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       Moreover, BCPOA’s general basis for issuing the limited discovery to third parties to

determine if the discharge was obtained fraudulently is a result of the Debtor’s repeated

misrepresentations to this Court, creditors, and interested parties. The Debtor’s Emergency

Motion for Protective Order also does not contain the required meet and confer certification

under Middle District of Florida Local Rule 3.01(g) and is not emergent in nature.

                                       BACKGROUND

       1.     The Debtor filed a petition for relief under Chapter 7 of the Bankruptcy Code on

October 31, 2018. [Doc. 1].

       2.     BCPOA is a holder of a secured claim in the amount of $9,704.84 and general

unsecured claim in the amount of $391,406.86. [Claim 6-2].

       3.     In the Chapter 7 case, the initial § 341 meeting of creditors was held on December

4, 2018 and continued until January 15, 2019 to allow further examination of the Debtor and/or

records of the Debtor. The continued § 341 meeting of creditors was held on January 15, 2019,

continued again until February 12, 2019, continued again until March 12 2019, continued again

until April 9, 2019, continued again until May 7, 2019, continued again until May 21, 2019,

continued again until June 4, 2019, continued again until June 18, 2019, continued again until

July 2, 2019, continued again until July 16, 2019, continued again until July 30, 2019, and was

continued and scheduled for August 13, 2019 to allow time for further examination of the Debtor

and records production from the Debtor not yet produced by the Debtor.

       4.     On September 16, 2019, the Court entered an Order and Notice Converting the

case to a Chapter 11 proceeding. [Doc. 174]. In the Chapter 11 Case, the initial 341 meeting was

held on October 21, 2019 and continued to December 9, 2019.




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       5.       On March 13, 2020, the Court entered an Order Denying Confirmation of

Debtor’s Amended Chapter 11 Plan and Re-Converting the case to a Chapter 7 proceeding.

       6.       After reconversion, the § 341 meeting of creditors was held on April 3, 2020 and

continued until April 21, 2020. The continued § 341 meeting of creditors was held on May 7,

2020, continued again until May 21, 2020, continued again until June 4, 2020, continued again

until July 1, 2020, continued again until July 22, 2020, continued again until August 19, 2020,

continued again until August 26, 2020, continued again until September 22, 2020, and continued

again until October 5, 2020.

       7.       On June 26, 2020 an Order of Discharge was entered (the “Discharge Order”).

[Doc. 369].

       8.       On October 9, 2020, BCPOA filed a Motion for Joint Administration to

consolidate this Chapter 7 case with a related case already before this Court regarding a Juravin

related entity, Must Cure Obesity, Co. (“MCO”), Case No. 6:20-bk-01801-KSJ. [Doc. 399]. The

continued Juravin § 341 meeting of the creditors will be scheduled pending the outcome of the

Motion for Join Administration, set for hearing on November 17, 2020.

       9.       On October 9, 2020, BCPOA filed Notices of Intent to Serve Subpoenas upon

Fairwinds Credit Union, TD Bank, JPMorgan Chase, Mainstreet Community Bank, and Seacoast

Bank, giving notice that subpoenas for document production would be served on those entities

on or about October 13, 2020. [Docs. 400-404].

       10.      On October 15, 2020, BCPOA filed Notices of Intent to Serve Subpoenas upon

Truist Bank, Fifth Third bank, Wells Fargo Bank, and Bank of America, giving notice that

subpoenas for document production would be served on those entities on or about October 16,




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2020. [Docs. 406-409]. The Notices of Intent to Serve Subpoenas filed by BCPOA on October 9

and 15, 2020, shall be referred to collectively as the “Subpoena Notices.”

           11.      On October 19, 2020, the Debtor filed his Emergency Motion for Protective Order

as to the Subpoena Notices. [Doc. 410].

           12.      On October 27, 2020, in the related adversary proceeding for exception of the

Federal Trade Commission’s (“FTC”) debt from discharge under § 523, this Court entered a

Final Judgment in favor of the FTC and against the Debtor finding the approximately $25

million dollar debt not dischargeable and making other factual findings. [Docs. 88-89 of A.P.1].

                                                   ARGUMENT

           A. BCPOA is Entitled to Seek Discovery Related to the Underlying Chapter 7 Case,
              Discharge Order, and Noticed 2004 Exam of Anna Juravin, after Entry of the
              Discharge Order.

           BCPOA, or any other creditor, is entitled to seek discovery related to Juravin’s Chapter 7

case and Discharge Order from third parties after a Discharge Order has been entered. Put

differently, there does not have to be an adversary proceeding or contested matter pending before

this Court for BCPOA or other creditors to seek discovery from third parties relating to the

underlying and pending bankruptcy case. Furthermore, BCPOA is entitled to seek discovery in

relation to its Cross Notice of Anna Juravin’s 2004 Video Examination. [Doc. 219].

           Without citing any case law or applicable rules, Debtor argues that for BCPOA to take

discovery “there would have to be some adversary proceeding or contested matter pending

before the Court.” [Doc. 410, ¶12]. This is incorrect. BCPOA suspects and is investigating

whether the Debtor obtained his discharge through fraudulent means. BCPOA also is reviewing

whether the Debtor acquired property that is property of the estate, or became entitled to acquire

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    “A.P.” shall refer to the related Adversary Proceeding between the FTC and the Debtor.




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property that would be the property of the estate, and knowingly and fraudulently failed to report

such. To assist in making this determination as to whether the Debtor used fraudulent means to

obtain the Discharge Order as described above, BCPOA is entitled to seek the production of

documents from third parties related to the underlying Chapter 7 case and Discharge Order.2

        The basis and reason for determining whether the Debtor obtained the Discharge Order

fraudulently is set forth 11 U.S.C. § 727(d)(1)-(2), (e). More specifically, a creditor, such as

BCPOA, can request this Court to revoke the Discharge Order one year after the entry of the

Discharge Order if:

                “(1) such discharge was obtained through the fraud of the debtor, and the
        requesting party did not know of such fraud until after the granting of such
        discharge;
                (2) the debtor acquired property that is property of the estate, or became
        entitled to acquire property that would be property of the estate, and knowingly
        and fraudulently failed to report the acquisition of or entitlement to such property,
        or to deliver or surrender such property to the trustee

Thus, because this Chapter 7 case is not closed, within one year post-discharge, and BCPOA

suspects the Debtor obtained the Discharge Order fraudulently under § 727(d)(1)-(2), BCPOA is

seeking limited discovery of documents from third parties to determine whether this suspicion is

well founded.

        B. The Limited Discovery Sought Stems from the Debtor’s Repeated
           Misrepresentations, and the Debtor Continues to Delay Simple Discovery Issues
           Through Non-Compliance and Motions for Protective Orders.

        It is not surprising that the Debtor objected to or moved for a protective order to prevent

or delay an interested party from obtaining relevant discovery because the Debtor and his wife


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  Notably, BCPOA is not seeking the production of documents from the Debtor, which typically is the basis for a
Motion to Quash or Motion for Protective Order under the Federal Rules of Civil Procedure. Furthermore, no
subpoena recipient has filed any objection to, moved to quash, or moved for a protective order as to any subpoena.
Rather, the Debtor, not the subpoena recipients, moves for an omnibus protective order against subpoenas issued to
third parties.




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have done so previously. Debtor and his wife, together, previously filed four (4) protective order

motions in this matter already. [Docs. 51, 62, 69, 220]. This Court denied in part and granted in

part Docs. 51, 62, and 69, and denied Doc. 220. Furthermore, this Court ordered the Debtor

produce all documents and communications “relating to the Debtor’s business or financial

affairs, lawsuits, or money” for two years prior to the petition date, including all business entities

in which the Debtor was involved in any capacity whatsoever. [Doc. 134, ¶2]. The Debtor failed

to comply this Court order as not all documents and communications were produced. This Court

ordered Anna Juravin to a Rule 2004 Examination Duces Tecum in response to her Emergency

Motion for Protective Order. [Doc. 284, ¶ii]. Mrs. Juravin failed to comply with this Court order

as her 2004 Exam has yet to be taken and she has yet to produce all documents responsive to the

2004 notices. In short, the Debtor and Debtor’s interested parties have shown a pattern of

delaying or objecting to relevant discovery requests despite receiving the benefits of a Chapter 7

bankruptcy discharge.

        More troubling, the Debtor has a history of making fraudulent misrepresentations and

obfuscating other parties’ attempts at obtaining discoverable information. [Doc 295]. As

described supra, there have been many § 341 meeting of the creditors in an attempt to obtain

basic information from the Debtor. At said meetings, the Debtor has been evasive, untruthful,

uncooperative, cantankerous, and inconsistent. Furthermore, it is BCPOA’s position that the

Debtor has failed to produce all requisite financial documents requested by creditors and the

trustee, and essentially changes his story depending upon the question asked. The Debtor even

requested a Hebrew translator mid-bankruptcy, despite numerous hearings, § 341 meeting of the

creditors, previous testimony – all in fluent English – to delay and disrupt the proceedings even

more.



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           This Court, and others, have found that the Debtor made affirmative misrepresentations

with the intent to deceive in the past. [Doc. 88 of A.P., pg. 2]. This Court found that the Debtor’s

“testimony is not credible,” his explanations for “false statements” are “unbelievable,” he spread

“lies and false statements” relating to his business, acted with an “intent to deceive,” and

“intentionally tricked customers” through “consistent and repeated misrepresentations.” Id. at

pgs. 2-9. The point being, a primary reason as to why the § 341 meetings of the creditors have

dragged on and the Subpoena Notices at issue were filed is because of the Debtor’s deceitful and

disingenuous behavior. This is one of many basis BCPOA relies upon in its investigation and

discovery requests to determine whether the Debtor obtained the Discharge Order fraudulently or

truthfully disclosed all financial information and/or property to the estate. BCPOA, and other

creditors, did not receive all financial information relating to the Debtor’s businesses prior to the

Discharge Order [Doc. 134, ¶2] and is within its rights to seek this information from third

parties.

           Lastly, the Debtor’s Emergency Motion for Protective Order does not contain the

required meet and confer certification under Middle District of Florida Local Rule 3.01(g) and is

not emergent in nature. The Debtor’s counsel did send an email to the undersigned after filing

the Emergency Motion for Protective Order, but Local Rule 3.01(g) directs counsel to confer

prior to filing a discovery motion such as this.




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       WHEREFORE, Bella Collina Property Owner’s Association, Inc. respectfully requests

this Court to deny the Debtor’s Emergency Motion for Protective Order and grant any other

relief it deems appropriate.



       Dated: November 13, 2020.
                                                   Respectfully Submitted,

                                                    /s/ William C. Matthews
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                                                   Attorneys for Bella Collina Property
                                                   Owner’s Association, Inc.

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 13, 2020 i) a true copy of the foregoing was filed

electronically via the Court’s CM/ECF system which will serve all interested persons receiving

electronic notice, including:

Aldo G Bartolone, Jr on behalf of Debtor Don Karl Juravin
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Christopher J Hamner on behalf of Creditor Zachary Lake chamner@hamnerlaw.com

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Michael P Mora on behalf of Plaintiff Federal Trade Commission mmora@ftc.gov



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United States Trustee - ORL7/13 USTP.Region21.OR.ECF@usdoj.gov

and ii) a copy of same was served by depositing a copy in the U.S. Mail, postage pre-paid

thereon, to be delivered to: Don Karl Juravin, 15118 Pendio Drive, Montverde, FL 34756.



                                                    /s/ William C. Matthews
                                                    WILLIAM C. MATTHEWS
ORLDOCS 18196684 1




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